                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
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BARRY GILFAND, AARON GILFAND,        )
ADAM MASTRUCCI, AND SCOTT            )
LOWRANCE                             )
                                     )
                 Plaintiffs,         )
                                     )
vs.                                  )
                                     )
SGT. JEFFERY PLANEY, OFFICER GREGORY )                    Case No. 07 C 2566
BARNES, OFFICER DEMETRIOS KEREAKES, )
OFFICER VINCENT MATTHEWS, OFFICER    )                    Judge Harry Leinenweber
MATIAS PADILLA, OFFICER PAUL POWERS, )
OFFICER ERIKA WOOSLEY, SGT. DALE     )                    Magistrate Judge Keys
KINGSLEY, OFFICER KENNETH CARLYON, )
OFFICER FREDERICK COLLINS, OFFICER   )
NICOLE MAYOSKI, OFFICER ANA PINA,    )
OFFICER JESUS ENRIQUEZ, OFFICER      )
MICHAEL HOWE, OFFICER DONALD LUPO, )
OFFICER GREGORY MORABITO, and THE    )
CITY OF CHICAGO,                     )
                                     )
                 Defendants.         )

  DEFENDANT OFF-DUTY OFFICERS PAUL POWERS AND GREGORY BARNES’
   RESPONSE TO PLAINTIFFS’ RULE 37(c)(1) MOTION FOR SANCTIONS FOR
   DEFENDANTS’ FAILURE TO DISCLOSE THEIR INTERVIEW STATEMENTS
            REGARDING THE EVENTS AT ISSUE IN THIS CASE

       Plaintiffs have moved for sanctions against the City of Chicago and the Off-Duty Officer

Defendants, including Paul Powers and Gregory Barnes, for Defendants’ alleged failure to

disclose statements given to investigators from the Independent Police Review Authority

(“IPRA”), formerly known as the Office of Professional Standards (“OPS”). See Doc #447.

This motion should be denied as to Paul Powers because, upon information and belief, counsel

produced Powers’ IPRA statement to Plaintiffs’ counsel on March 26, 2010, the day after Powers

gave his statement. The motion should be denied as to Gregory Barnes because another
attorney—not Barnes’ current counsel—represented Barnes when he gave his statement to an

IPRA investigator. In any case, the City of Chicago produced Barnes’ and Powers’ IPRA

statements to Plaintiffs nearly 3 weeks before trial, and Plaintiffs have not explained how the

timing of this disclosure has prejudiced their case.

       Upon information and belief, Powers’ counsel produced his IPRA statement on March

26, 2010. Although counsel for Paul Powers has been unable to find a copy of the March 26,

2010 transmittal letter, counsel has found a Bates-stamped copy of Powers’ IPRA statement

(attached as Exhibit A), an entry from the production log indicating that the IPRA statement was

produced on March 26, 2010 (Exhibit B), as well as a note from counsel instructing her assistant

to “[g]ive a copy [of Powers’ IPRA statement] to [a paralegal] and tell her to Bates label and

prepare for production to all parties in the civil suit” (Exhibit C).

       Gregory Barnes’ current counsel did not represent him for purposes of his IPRA

investigation, and specifically did not represent him at his IPRA statement on March 9, 2010.

Barnes’ former attorney, Will Fahy, did. See Exhibit D. Barnes’ current counsel should not be

penalized for Barnes’ prior counsel’s alleged failure to produce Barnes’ IPRA statement.

       Furthermore, Plaintiffs have suffered no prejudice. Both Powers’ and Barnes’ IPRA

statements were taken nine months after they both sat for their depositions in June 2009.

Plaintiffs therefore were not denied the opportunity to ask Powers and Barnes questions about

their IPRA statements during their depositions. Plaintiffs do not explain how receipt of these

statements nearly three weeks before trial has prejudiced their case. Instead, they support their

assertion (at 2) that “untimeliness is by its nature prejudicial” by citing a case in which

defendants waited until three days before trial to disclose their experts. Miksis v. Howard, 106

F.3d 754, 760 (7th Cir. 1997).



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       There is no logical comparison which can be drawn between the issue at bar and the fact

scenario in Miksis. Miksis involved previously undisclosed experts from whom the movant had

no opportunity to seek discovery on the eve of trial. Here, Plaintiffs had two years of discovery

regarding Barnes and Powers before their extensive depositions. The examination by Plaintiffs’

counsel alone in Barnes’ deposition was 326 pages out of the 326 pages of total questioning, and

for Powers’ deposition Plaintiffs’ counsel examined the witness for 276 pages out of the 276

pages of total questioning. In addition, Plaintiffs deposed every other off-duty defendant and a

host of other fact witnesses who provided detailed information about both Powers and Barnes.

And given that Powers and Barnes were called to give statements to IPRA almost one year after

their depositions in this case, Plaintiffs cannot claim they were prejudiced by not having the

IPRA statements then since they clearly did not exist.


       It is quite remarkable that even if Plaintiffs did not receive the Powers IPRA statement

that counsel in good faith believe had been produced two years ago, how can there possibly be

prejudice when the phalanx of Plaintiffs’ counsel and staff who have been working on this matter

have now had three weeks to integrate those statements into their trial preparation? The

Plaintiffs’ reflexive, finger-pointing motion and request for sanctions against officers of the court

on this record is beyond specious.


       Finally, Defendants would be remiss not to mention Plaintiffs’ own untimely disclosure.

Plaintiffs issued a subpoena on April 30, 2012 for John Carroll to testify at trial, even though

Plaintiffs did not list Mr. Carroll on their witness list in the Parties’ Proposed Final Pretrial Order

filed April 18, 2012 (Doc #395, at 2-5). See Exhibit E. Rather than spend time filing a motion

for sanctions, Defendants have revised their trial preparation in light of Plaintiffs’ recent



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disclosure. Plaintiffs should have done the same and not burdened this Court with yet another

motion which has nothing to do with the merits of this case.


       WHEREFORE, Defendant Off-Duty Officers Paul Powers and Gregory Barnes

respectfully request that the Court deny Plaintiffs’ Motion for Sanctions for Defendants’ Failure

to Disclose Their Interview Statements Regarding the Events at Issue in this Case.


Dated: May 4, 2012                           By: /s/ Lori E. Lightfoot

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